           Case 2:22-cr-00151-WBS Document 42 Filed 08/07/23 Page 1 of 3


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     Assistant Federal Defender
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4    Tel: 916-498-5700/Fax: 916-498-5710
5    Attorney for Defendant
     JOSE CURIEL
6
7                                 IN THE UNITED STATES DISTRICT COURT
8                              FOR THE EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,                            )   Case No. 2:22-cr-00151-WBS-1
10                                                        )
                     Plaintiff,                           )   STIPULATION FOR MODIFICATION OF
11                                                        )   CONDITIONS OF PRETRIAL RELEASE;
     vs.                                                  )   [PROPOSED] ORDER
12                                                        )
     JOSE CURIEL,                                         )   Hon. Jeremy D. Peterson
13                                                        )
                     Defendant.                           )
14                                                        )
                                                          )
15
               The defendant, JOSE CURIEL, by and through his attorney of record, Assistant Federal
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     Defender Megan T. Hopkins, and the UNITED STATES, by and through its attorney of record,
17
     Justin Lee, hereby stipulate to and request an order from this Court modifying the conditions of
18
     Mr. Curiel’s pretrial release to modify Special Condition 13, setting forth the times for the
19
     previously-imposed location monitoring: curfew condition, as follows:
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               “13.    CURFEW: You must remain inside your residence every day from 9:00 pm to
21             6:00 am, or as adjusted by the pretrial services officer for medical, religious services,
22             employment, or court-ordered obligations.”

23             Mr. Curiel has been on pretrial release in this district since July 2022, on a $4,000

24   unsecured appearance bond. See Dkt. 18. Mr. Curiel is in compliance with all of his conditions

25   of release. One of those conditions of release is location monitoring. Mr. Curiel is currently

26   subject to home detention: curfew and must remain inside his residence between the hours of

27   6:00 p.m. and 6:00 a.m., except for pre-approved employment; education; religious services;

28   medical, substance abuse, or mental health treatment; attorney visits; court appearances; court

       Stipulation for Modification of
       Conditions of Pretrial Release; [Proposed] Order
       Case 2:22-cr-00151-WBS Document 42 Filed 08/07/23 Page 2 of 3


1    ordered obligations; or other activities authorized by the pretrial services officer. Mr. Curiel has
2    daughters from a previous relationship whose mother and primary custodial parent has indicated
3    would be willing to facilitate more frequent and longer visits between Mr. Curiel and his
4    children, if he were able to pick them up and bring them home in the evening. An extension of
5    Mr. Curiel’s curfew hours would permit him the additional time needed to increase his visits
6    with his daughters. Accordingly, in light of Mr. Curiel’s history of compliance with all of his
7    conditions and the reduced assessment of flight risk and/or danger in this case, the parties request
8    that Special Condition 13 be modified to a curfew from 9:00 p.m. to 6:00 a.m., daily.
9
10                                              Respectfully submitted,
     DATED: August 4, 2023                      HEATHER E. WILLIAMS
11
                                                Federal Defender
12
                                                /s/ Megan T. Hopkins
13                                              MEGAN T. HOPKINS
                                                Assistant Federal Defender
14                                              Attorney for JOSE CURIEL
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16
     DATED: August 4, 2023                      PHILLIP A. TALBERT
17                                              United States Attorney
18                                              /s/ Justin Lee
19                                              JUSTIN LEE
                                                Assistant United States Attorney
20                                              Attorney for the United States

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      Stipulation for Modification of
      Conditions of Pretrial Release; [Proposed] Order
       Case 2:22-cr-00151-WBS Document 42 Filed 08/07/23 Page 3 of 3


1                                              [PROPOSED] ORDER
2            GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED THAT Special
3    Condition 13 shall be modified to reflect that Mr. Curiel shall be subject to a curfew from 9:00
4    p.m. to 6:00 a.m., daily. All other conditions of pretrial release shall remain in force.
5
6    DATED: August 4, 2023

7                                                        __________________________________
                                                         HON. JEREMY D. PETERSON
8                                                        United States Magistrate Judge
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      Stipulation for Modification of
      Conditions of Pretrial Release; [Proposed] Order
